Case 1:24-cv-21050-CMA Document 1 Entered on FLSD Docket 03/18/2024 Page 1 of 20




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                       Miami Division


    PRESIDENT DONALD J. TRUMP, an individual,                                    :

                          Plaintiff,
                                                                           COMPLAINT AND DEMAND
              v.                                                           FOR JURY TRIAL

                                                                   ,
    a Delaware corporation,

    individual,

                          Defendant .


         P                    Donald J. Trump,                                           Defendant ,

                                             ,



                                   NATURE OF THE ACTION
         1.                                                            ’




        This Week With George Stephanopoulos,                                                Plaintiff

                                                                                                 were

  and remain       , and were                                                               or with a



  are                                  Indeed, t                              Plaintiff did not commit


                                                       1
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Case 1:24-cv-21050-CMA Document 1 Entered on FLSD Docket 03/18/2024 Page 2 of 20




  rape

                                                                .

             2.   Defendant                                                                    , which were



                                     other                     with intent to harm Plaintiff            inter

  alia                                                                                                  made

                       ,

  advance, and were written on




                                                                                                    Defendant

                                                                          ,                         Defendant



                  Plaintiff                                                     harm

  Defendant                .

                                             THE PARTIES

             5.   Plaintiff          Donald J. Trump
                                                 th
         ,             the tate of

                                                           .

             6.                                                                                     Delaware



                                     This Week With George Stephanopoulos.

                                                                                        Plaintiff        This

                                                       2
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Case 1:24-cv-21050-CMA Document 1 Entered on FLSD Docket 03/18/2024 Page 3 of 20




  Week With George Stephanopoulos

                    See                                       -mace-           -   -trump-after-

  found-                          .

                                      , Inc. (“



                                                     This Week With George Stephanopoulos, and



                                                                                       Plaintiff

                                                                       This Week With George

  Stephanopoulos,                                               on                      .

           8.    Defendant




                                                                                    -promotion,



  Plaintiff                   .

                              JURISDICTION AND VENUE



                    ,                                                      -



           10.



                                                                                    , and more


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Case 1:24-cv-21050-CMA Document 1 Entered on FLSD Docket 03/18/2024 Page 4 of 20




                                       This Week With George Stephanopoulos,

        , and                                                          on                  which are



         11.    I                                                                                  :

                                   1

                    ,




                             while                                          ,p

                                           Defendant



         12.

                                                                                   ’




                                       .

                                   STATEMENT OF FACTS

                             The E. Jean Carroll Litigation Matters

                                                      writer                roll       filed a     -

  count complaint for defamation                      in the                                       ,

                                                                   .


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Case 1:24-cv-21050-CMA Document 1 Entered on FLSD Docket 03/18/2024 Page 5 of 20




           Caroll v. Trump, et. al.                          -cv-10016-LAK (“Carroll I . See Carroll I, Notice

  of Removal [D.E. 1 and D.E. 6].

          15.                                                                 Carroll I                    an

          incident that

                                                                                See Carroll I               6-

  1].

          16.

                alle a

                                        that,

                                                     rred,



         . Id. at ¶¶ 22-26.

          18.

                                “                ” and                                                      .”

  Id. at ¶¶ 2, 2 - .

                                                more than

                                                                    occurrence. Id.       -80.

          20.                                                                              in three

                                                  , which form the               of                         in

  Carroll I. Id. at ¶¶ 8            .



                                                                5
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Case 1:24-cv-21050-CMA Document 1 Entered on FLSD Docket 03/18/2024 Page 6 of 20




         21.                                                                                      related to the

  Carroll I      ,                                                                                            See

  Carroll v. Trump              1:20-vc-          -

                              Carroll II

         22.   The                       in the Carroll II

                                                  ,                            an additional claim for

                        Compare Carroll I                                                   -1] with Carroll II,




                       ” Id. at ¶ 125.

                                                                      Carroll II



                defamation claim in Carroll I. See Carroll II                          [D.E. 1]           -

         25.                                          Carroll II               in

         26.                                                             . See Carroll II




                                                              .

         28.                                   —

                     and found Plaintiff not liable                                :

                                                          6
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Case 1:24-cv-21050-CMA Document 1 Entered on FLSD Docket 03/18/2024 Page 7 of 20




  Id.



         claim and the defamation claim. The Carroll II

                                  Carroll v. Trump                      -

                           See Carroll II

                                    Carroll II

  Carroll I due to the                     verdict. See Carroll I, Motion
                                     1


                                                                                                      ” in

  the initial omplaint [D.E. 6-1] with                                      Carroll II      did not

                                  . See Carroll I                                         -1].

                                                                                                         ,

  a                      , in Carroll I.

                                                                                   -count complaint for

  defamation in Carroll I                                  See Carroll I,




         1

  leave to amend her complaint and deemed                                           -1]
                 See                                                ,


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Case 1:24-cv-21050-CMA Document 1 Entered on FLSD Docket 03/18/2024 Page 8 of 20




                     The verdict in Carroll I

               Carroll v. Trump                    -

              See Carroll I

                     The Carroll I                          did not find Plaintiff

  limited nature of the

                     Neither the Carroll I             nor the Carroll II

                                       The George Stephanopoulos Interview

                                            , at

                                                         Rep                         -   h   This

  Week With George Stephanopoulos              how on

  ten-           .




  rape.

                                                                          ,              ed how

                                             Plaintiff                                       had

          “                       .”




                                                                                         i.e. that




                                                             8
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Case 1:24-cv-21050-CMA Document 1 Entered on FLSD Docket 03/18/2024 Page 9 of 20




                                      I

  that Plaintiff        “                       ” more than ten times

                   “                                                   Ju
                                                                                          .” See
                   8.

                   “                                                              . Donald Trump

                              ” Id.

                                                                             d
                                      Id.

                   “I                                                       Id.

                                                                            ’re                            ’
                                                   Id. at p. 10.

                                                                                              Id.

                   “                       forward, a
                   who commit the rape . . . T                          d
                        .” Id. at p. 10.

                   “Y                                  Donald T                                         ” Id.
                   at p. 11.

                   “
                   for rape.” Id.

                   “
                   Donald                                                                   ” Id.

                                                        d                                     Id.

                   “. . . e                                                 Id.

                                                                                              Caroll I and

  Carroll II,                                               that                    “               for rape”

  were                                      .

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Case 1:24-cv-21050-CMA Document 1 Entered on FLSD Docket 03/18/2024 Page 10 of 20




                               ,                               .

                                                                           verdict

               Carroll I and Carroll II          had not found Plaintiff             for rape.

                                                                             ,                      This Week




                                   2



                                                      Good Morning America

                                                                                      Carroll II.

                                       Good Morning America interview,



                                                                                 :

                                        ‘       ’
                                                                       3




                                                                                       ,                          not

  found liable for rape




           2
                                                                       -carroll-             -trump-off-        - -
  vance-

                                                                                 -         -carroll-    -court-
           -trump-

                                                          10
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Case 1:24-cv-21050-CMA Document 1 Entered on FLSD Docket 03/18/2024 Page 11 of 20




          50.                                                                     Carroll I and Carroll II

                                                                                Plaintiff

  for rape were

          51.                            that                          Plaintiff were           made them



          52.     After the Interview aired,                               contacted

  a retract                                                            the Interview

                                                      .

                                                                                        , and did not direct




                  Rather, i




          55.                                     ,                                                 ’



          56.



                                                          .


                                                              -mace-        -          -trump-after-found-


                                                      11
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Case 1:24-cv-21050-CMA Document 1 Entered on FLSD Docket 03/18/2024 Page 12 of 20




                  The Aftermath of the George Stephanopoulos Interview

                                                    ,



                       .

        58.




  and media,                               ’                         “       ”

                  .




                                               12
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Case 1:24-cv-21050-CMA Document 1 Entered on FLSD Docket 03/18/2024 Page 13 of 20




               Rupar’                                           ph           ’

                                                                  -

                                                             Rupar’ thread

  Interview

                                                                      ph

                                                    .

         60.              the Thread contain                    related to the Interview,

  which were                                    .

         61.

                        in which Rupar                  ph




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           62.    A                                                        (the

                 , in which Rupar           ph



  that.”




                  Another      contained in the Thread




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Case 1:24-cv-21050-CMA Document 1 Entered on FLSD Docket 03/18/2024 Page 15 of 20




                                                                       in which




                                          15
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Case 1:24-cv-21050-CMA Document 1 Entered on FLSD Docket 03/18/2024 Page 16 of 20




         65.                Rupar                                                                  ph

  from the Interview,




         66.    Mediaite



                                       —                                                          .” 5

                                                                              Mediaite

                                                                                                  “Mace



                                 ”

         68.    The



  and

                                                                   .” 6




         5
                                                               -          -                   -            -     -
  mace-in-           -       -       -her-          -trump-          -        -      -       -           -for-rape
         6
                                                       -mace-             -up-at-        -                       -
  over-trump-rape-

                                                 16
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Case 1:24-cv-21050-CMA Document 1 Entered on FLSD Docket 03/18/2024 Page 17 of 20




                  On a                          , Morning Joe                       covered the Interview and




                                    8


                                                                                          Demand Action



                                        that

                            -



                                                                                                      laintiff

                                                                                                          and

                                            .

                                        -

  to Plaintiff due to the                                         made

                                                    .



                                        .




          8
                                                                                -          -              -
           -Trump-              -       -Rep-           -      -with-her-own-       -in-epic-



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Case 1:24-cv-21050-CMA Document 1 Entered on FLSD Docket 03/18/2024 Page 18 of 20




                                                              .

                                   CAUSES OF ACTION

                              COUNT I – DEFAMATION PER SE



            6, supra                 .

                                                                              Plaintiff are

                         .

                                                                  ,

                                                          .

          80.

                                                                      .

          81.

          82.                                         .

                                                                                              , and

  fraud in that

  p                                          -                    Plaintiff

  for the truth.




          85.



                                                 18
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Case 1:24-cv-21050-CMA Document 1 Entered on FLSD Docket 03/18/2024 Page 19 of 20




         86.                                                     Plaintiff



                                        per se.




         88.                                                                       were



         WHEREFORE, Plaintiff PRESIDENT DONALD J. TRUMP

  Defendant




                              COUNT II – DEFAMATION PER QUOD

                  Plaintiff

   6, supra

                                                                       Plaintiff

  and

                                                             ,




  fraud in that       were


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Case 1:24-cv-21050-CMA Document 1 Entered on FLSD Docket 03/18/2024 Page 20 of 20




                                                 -                            Plaintiff

  for the truth.

                                                                                   Plaintiff



  him.



                      , Plaintiff

                                                                                                   were

                                                                                               .

          WHEREFORE, Plaintiff PRESIDENT DONALD J. TRUMP

  Defendant



                      .

                                    DEMAND FOR JURY TRIAL



  Date: March 18
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                                                          Suite 650

                                                                      -       -
                                                                  -       -

                                                                Alejandro Brito
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